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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA COMPLAINT
- against - 25-MJ-236
ALEJANDRO SANTOS, (18 U.S.C. § 2252(a)(4)(B))
Defendant.
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EASTERN DISTRICT OF NEW YORK, SS:

IANA GUTNIK, being duly sworn, deposes and states that she is a Special Agent
with the United States Department of Homeland Security, Homeland Security Investigations,
duly appointed according to law and acting as such.

On or about July 15, 2025, within the Eastern District of New York and
elsewhere, the defendant ALEJANDRO SANTOS did knowingly and intentionally possess with
intent to view matter containing one or more visual depictions, to wit: videos and images in
digital files contained within an electronic device provided to United States Customs and Border
Protection by the defendant at John F. Kennedy International Airport, and which visual
depictions had been mailed, and shipped and transported in, and using a means and facility of,
interstate and foreign commerce, and which were produced using materials which had been
mailed, and so shipped and transported, by any means, including by computer, the production of
such visual depictions having involved the use of one or more minors engaging in sexually
explicit conduct, and such visual depictions were of such conduct.

(Title 18, United States Code, Section 2252(a)(4)(B))
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The source of your deponent’s information and the grounds for her belief are as
follows:!

l. I am a Special Agent with the United States Department of Homeland
Security, Homeland Security Investigations (“HSI”) and have been since 2021. I am currently
assigned to the Human Exploitation and Trafficking Team at John F. Kennedy International
Airport (“JFK”) in Queens, New York. During my tenure with HSI, I have participated in the
investigation of cases involving crimes against children. Specifically, I have experience
investigating cases involving the sexual exploitation of minors and the production, receipt,
distribution, and possession of child pornography, also referred to as child sexual abuse material
(“CSAM”).2 I have conducted physical surveillance, executed search warrants, reviewed and
analyzed electronic devices, and interviewed suspects and witnesses. As a result of my training
and experience, I am familiar with the techniques and methods of operation used by individuals
involved in child exploitation crimes to conceal their actions from detection by law enforcement.

2. I am familiar with the facts and circumstances set forth below from my
participation in the investigation; my review of the investigative file, including the defendant’s
criminal history record; and from reports of other law enforcement officers involved in the

investigation.

I Because the purpose of this Complaint is to set forth only those facts necessary to

establish probable cause to arrest, I have not described all the relevant facts and circumstances of
which I am aware.

é The term “child pornography” is defined as set forth in 18 U.S.C. § 2256(8),
which, in pertinent part, states that “any visual depiction, including any photograph, film, video,
picture, or computer or computer-generated image or picture, whether made or produced by
electronic, mechanical, or other means, of sexually explicit conduct, where ... the production of
such visual depiction involves the use of a minor engaging in sexually explicit conduct... .” 18
U.S.C. § 2256(8); see also Ashcroft v. Free Speech Coalition, 535 U.S. 234 (2002) (analyzing
constitutional validity of the definitions set forth in 18 U.S.C. § 2256(8)).

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3. On or about July 15, 2025, the defendant ALEJANDRO SANTOS arrived
at JFK ona flight from the Dominican Republic. ALEJANDRO SANTOS is an employee of
the New York City Department of Education, where he works as a teacher’s assistant working
with children with mental disabilities. While he was going through customs, ALEJANDRO
SANTOS was stopped by U.S. Customs and Border Protection (“CBP”) officers pursuant to an
alert in CBP’s intelligence system (also known as a “lookout”). The lookout was generally
based on information that indicated that ALEJANDRO SANTOS was likely to be in the
possession of child sexual abuse material

4, The CBP agents escorted the defendant ALEJANDRO SANTOS to a
secondary border inspection area, where they searched his luggage and person and found a
cellular telephone.

5. ALEJANDRO SANTOS provided the CBP officers with his passcode.
Subsequently, CBP reviewed the phone and uncovered numerous videos and images of child
sexual abuse material.

6. I subsequently arrived on the scene with another HSI agent, where I
observed over approximately 50 videos and images containing child sexual abuse material on the
defendant ALEJANDRO SANTOS’s cell phone. These videos and images included children,
ranging in age from infants to adolescents, engaging in sexually explicit conduct.

ALEJANDRO SANTOS’s cell phone also contained messages indicating that he was accessing
child sexual abuse material via the internet.

7. For example, one of the videos depicted a pre-pubescent girl masturbating
followed by an adult male digitally and penally penetrating the girl. Another video depicted two

pre-pubescent girls masturbating followed by an adult male digitally and penally penetrating
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both girls. Another video, which the defendant accessed for the agents on an encrypted
application, depicted an infant child with a sex toy being inserted into the child’s anus. A
thumbnail of this same video depicting the same thing was also found in the defendant’s camera
roll.

WHEREFORE, your deponent respectfully requests that the defendant
ALEJANDRO SANTOS, be dealt with according to law.

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IANA GUTNIK

Special Agent, United States Department of
Homeland Security, Homeland Security
Investigations

Sworn to before me this
/(e day of July, 2025

THE HON BLE CHERYL L. POLLAK
UNITED 87ATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK

